                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )      Cause No. 6:24-cv-03082-SRB
     v.                                  )
                                         )
JIMMIE BELL; JIMMIE BELL AS              )
TRUSTEE OF SECOND BELL; and              )
FOURTH BELL, LLC,                        )
                                         )
                   Defendants.           )

                        ANSWER TO AMENDED COMPLAINT

   COMES NOW, Defendants, by and through undersigned counsel and Answers the

Amended Complaint as follows:

   1. As to Paragraph 1 of the Amended Complaint, Defendants admit to the terms and

      provisions of Title VIII of the Civil Rights Act of 1968 (the “Fair Housing Act”),

      as amended, 42 U.S.C. §§ 3601, et seq. Defendants lack sufficient knowledge or

      information to form a belief as to the truth of the remainder of the allegation and

      therefore deny the remainder of the allegation.

                                 Jurisdiction and Venue

   2. Defendants admit the allegations contained in Paragraph 2 of the Amended

      Complaint.

   3. Defendants admit the allegations contained in Paragraph 3 of the Amended

      Complaint.




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4. Defendants admit the allegations contained in Paragraph 4 of the Amended

   Complaint.

                   The Defendants and Subject Properties

5. Defendants admit the allegations contained in Paragraph 5 of the Amended

   Complaint.

6. Defendants admit the allegations contained in Paragraph 6 of the Amended

   Complaint.

7. Defendants admit the allegations contained in Paragraph 7 of the Amended

   Complaint.

8. Defendants admit the allegations contained in Paragraph 8 of the Amended

   Complaint.

9. Defendants admit the allegations contained in Paragraph 9 of the Amended

   Complaint.

10. Defendants admit the allegations contained in Paragraph 10 of the Amended

   Complaint.

11. Defendants admit the allegations contained in Paragraph 11 of the Amended

   Complaint.

12. Defendants admit the allegations contained in Paragraph 12 of the Amended

   Complaint.

13. Defendants admit the allegations contained in Paragraph 13 of the Amended

   Complaint.



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14. Defendants admit the allegations contained in Paragraph 14 of the Amended

   Complaint.

15. Defendants admit the allegations contained in Paragraph 15 of the Amended

   Complaint.

16. Defendants admit the allegations contained in Paragraph 16 of the Amended

   Complaint.

                              Factual Allegations

17. Defendants admit the allegations contained in Paragraph 17 of the Amended

   Complaint.

18. Defendants admit the allegations contained in Paragraph 18 of the Amended

   Complaint.

19. Defendants admit the allegations contained in Paragraph 19 of the Amended

   Complaint.

20. As to Paragraph 20 of the Amended Complaint, Defendants answer the allegations

   contained in the sub-paragraphs as follows:

      a. Defendants deny the allegations contained in Paragraph 20(a) of the

          Amended Complaint.

      b. Defendants deny the allegations contained in Paragraph 20(b) of the

          Amended Complaint.

      c. Defendants deny the allegations contained in Paragraph 20(c) of the

          Amended Complaint.



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      d. Defendants deny the allegations contained in Paragraph 20(d) of the

          Amended Complaint.

21. As to Paragraph 21 of the Amended Complaint, Defendants answer the allegations

   contained in the sub-paragraphs as follows:

      a. Defendants deny the allegations contained in Paragraph 21(a) of the

          Amended Complaint.

      b. Defendants deny the allegations contained in Paragraph 21(b) of the

          Amended Complaint.

      c. Defendants deny the allegations contained in Paragraph 21(c) of the

          Amended Complaint.

22. As to Paragraph 22 of the Amended Complaint, Defendants admit a Petition for

   rent and possession was filed against Destiny Cox on May 2, 2019 for unpaid rent.

   Defendants further admit that the matter was dismissed on May 21, 2019 when

   Defendant Bell failed to appear. Defendants deny these actions were taken in

   retaliation as alleged in Paragraph 21 or that any discriminatory conduct occurred.

23. Defendants admit the allegations contained in Paragraph 23 of the Amended

   Complaint.

24. Defendants lack knowledge or information sufficient to form a belief about the

   truth of the allegations contained in Paragraph 24 of the Amended Complaint and

   therefore deny.

25. Defendants deny the allegations contained in Paragraph 25 of the Amended

   Complaint.

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26. As to Paragraph 26 of the Amended Complaint, Defendants answer the allegations

   contained in the sub-paragraphs as follows:

      a. Defendants deny the allegations contained in Paragraph 26(a) of the

         Amended Complaint.

      b. Defendants deny the allegations contained in Paragraph 26(b) of the

         Amended Complaint.

      c. Defendants deny the allegations contained in Paragraph 26(c) of the

         Amended Complaint.

      d. Defendants deny the allegations contained in Paragraph 26(d) of the

         Amended Complaint.

      e. Defendants deny the allegations contained in Paragraph 26(e) of the

         Amended Complaint.

27. Defendants deny the allegations contained in Paragraph 27 of the Amended

   Complaint.

28. Defendants deny the allegations contained in Paragraph 28 of the Amended

   Complaint.

29. Defendants deny the allegations contained in Paragraph 29 of the Amended

   Complaint.

30. Defendants deny the allegations contained in Paragraph 30 of the Amended

   Complaint.

31. Defendants deny the allegations contained in Paragraph 31 of the Amended

   Complaint.

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                         HUD Administrative Process

32. Defendants lack knowledge or information sufficient to form a belief about the

   truth of the allegations contained in Paragraph 32 of the Amended Complaint and

   therefore deny.

33. Defendants lack knowledge or information sufficient to form a belief about the

   truth of the allegations contained in Paragraph 33 of the Amended Complaint and

   therefore deny.

34. Defendants admit the allegations contained in Paragraph 34 of the Amended

   Complaint.

35. Defendants lack knowledge or information sufficient to form a belief about the

   truth of the allegations contained in Paragraph 35 of the Amended Complaint and

   therefore deny.

36. Defendants admit the allegations contained in Paragraph 36 of the Amended

   Complaint.

                             CAUSE OF ACTION

                                    COUNT I

37. Defendants reanswer and incorporate by reference the answers described above.

38. As to Paragraph 38 of the Amended Complaint, Defendants answer the allegations

   contained in the sub-paragraphs as follows:

      a. Defendants deny the allegations contained in Paragraph 38(a) of the

          Amended Complaint.



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      b. Defendants deny the allegations contained in Paragraph 38(b) of the

          Amended Complaint.

      c. Defendants deny the allegations contained in Paragraph 38(c) of the

          Amended Complaint.

      d. Defendants deny the allegations contained in Paragraph 38(d) of the

          Amended Complaint.

39. Defendants deny the allegations contained in Paragraph 39 of the Amended

   Complaint.

                                    COUNT II

40. Defendants deny the allegations contained in Paragraph 40 of the Amended

   Complaint.

41. Defendants deny the allegations contained in Paragraph 41 of the Amended

   Complaint.

                            PRAYER FOR RELIEF

42. Defendants deny the allegations contained in Paragraph 42 of the Amended

   Complaint.

43. In response to Paragraph 43 of the Amended Complaint, Defendants deny the

   demand to enjoin them, their agents, employees, successors and all other persons

   in active concert or participation with them as specifically delineated in each of the

   subparagraphs enumerated 43(a) - 43(f).

44. Defendants deny monetary damages exist pursuant to Paragraph 44 of the

   Amended Complaint.

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45. Defendants deny monetary damages exist pursuant to Paragraph 45 of the

   Amended Complaint.

46. Defendants deny a civil penalty exists pursuant to Paragraph 46 of the Amended

   Complaint.

47. Defendants deny any relief exists pursuant to Paragraph 44 of the Amended

   Complaint.

                        DEMAND FOR JURY TRIAL

48. Defendants admit and join in the demand for a Jury Trial pursuant to Paragraph 48

   of the Amended Complaint.




                                     Respectfully submitted,


                                     /s/ Michael A. Stanfield
                                     ______________________________
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